                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff,

        v.                                      Case No. 18-00293-16-CR-W-DGK

 PHILLIP TRA JOSEPH HOYT,

                               Defendant.


             ORDER TO DISMISS INDICTMENT AGAINST DEFENDANT

       IT IS HEREBY ORDERED that upon motion of the United States, due to the death of the

defendant, the indictment against Defendant Phillip Hoyt as reflected in case number 18-00293-

16-CR-W-DGK, is hereby dismissed.




Dated: September 6, 2022                          /s/ Greg Kays
       Kansas City, Missouri                      Honorable D. Greg Kays
                                                  United States District Judge
                                                  Western District of Missouri




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